      Case 18-14942                 Doc 22         Filed 08/30/18 Entered 08/30/18 23:30:36                  Desc Imaged
                                                  Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Michael F Beckett                                           Social Security number or ITIN   xxx−xx−4968
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2              Katie Lynn Beckett                                          Social Security number or ITIN   xxx−xx−6488
(Spouse, if filing)
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 18−14942



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Michael F Beckett                                             Katie Lynn Beckett
                                                                         aka Katie Lynn Spittal


           August 28, 2018                                                For the court: Jeffrey P. Allsteadt, Clerk
                                                                                         United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




Official Form 318                                            Order of Discharge                                page 1
    Case 18-14942         Doc 22     Filed 08/30/18 Entered 08/30/18 23:30:36           Desc Imaged
                                    Certificate of Notice Page 2 of 4




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
        Case 18-14942       Doc 22     Filed 08/30/18 Entered 08/30/18 23:30:36             Desc Imaged
                                      Certificate of Notice Page 3 of 4
                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 18-14942-PSH
Michael F Beckett                                                                       Chapter 7
Katie Lynn Beckett
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: admin                  Page 1 of 2                   Date Rcvd: Aug 28, 2018
                               Form ID: 318                 Total Noticed: 44


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 30, 2018.
db/jdb         +Michael F Beckett,    Katie Lynn Beckett,    2805 Molly Ct.,    New Lenox, IL 60451-3085
26766928       +Allied Anes Assoc PC,    Po Box 1123,    Jackson, MI 49204-1123
26766929       +Amita Adventist Bolingbrook Medical,     Po Box 775291,    Chicago, IL 60677-5291
26766930       +Angela Mahome, M.D.,    Billing Office,    Po Box 613,    Channahon, IL 60410-0613
26766931       +Bank of America,   4909 Savarese Cir.,     Fl1-908-01-50,    Tampa, FL 33634-2413
26766937       +Citibank/The Home Depot,    Centralized Bankruptcy,     Po Box 790034,   St Louis, MO 63179-0034
26766943       +FedLoan Servicing,    Attention: Bankruptcy,    Po Box 69184,    Harrisburg, PA 17106-9184
26766944       +FedLoan Servicing,    Po Box 60610,    Harrisburg, PA 17106-0610
26766947       +Fifth Third Bank,    5050 Kingsley Dr,    Cincinnati, OH 45227-1115
26766948       +Hedges Clinic Service Corp.,    222 Colorado Ave.,     Frankfort, IL 60423-1396
26766950       +Joanne Stankiewicz, Psy D.,    10775 163rd Pl.,    Orland Park, IL 60467-8861
26766953       +MinuteClinic Diagnostic of Illinois,     Attn # 8446W,    Po Box 14000,   Belfast, ME 04915-4033
26766956       +Partners In Obstetrics & Women’s,     1890 Silver Cross Blvd.,    Suite 210,
                 New Lenox, IL 60451-9626
26766957       +Physicians Immediate Care - Chicago,     Po Box 8799,    Carol Stream, IL 60197-8799
26766958       +Silver Cross Hospital,    7008 Solution Center,    Chicago, IL 60677-7000
26766965       +Vittori Foot & Ankle Specialist,    15772 S. Bell Rd.,     Homer Glen, IL 60491-8400
26766966       +Vivint,   4931 N. 300 W.,    Provo, UT 84604-5816

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QJTAKADA.COM Aug 29 2018 05:13:00       Joji Takada,   Takada Law Office, LLC,
                 6336 North Cicero Avenue,    Suite 201,    Chicago, IL 60646-4448
26766927       +E-mail/Text: BKO@ABRICU.com Aug 29 2018 01:29:39       Abri Credit Union,     1350 W. Renwick Rd.,
                 Romeoville, IL 60446-5345
26766932        EDI: BANKAMER.COM Aug 29 2018 05:13:00       Bank of America,    Po Box 982238,
                 El Paso, TX 79998
26766933       +EDI: CAPONEAUTO.COM Aug 29 2018 05:13:00       Capital One Auto Finance,    Attn: Bankruptcy,
                 Po Box 30285,   Salt Lake City, UT 84130-0285
26766934       +EDI: CAPONEAUTO.COM Aug 29 2018 05:13:00       Capital One Auto Finance,    3901 Dallas Pkwy,
                 Plano, TX 75093-7864
26778157       +EDI: AISACG.COM Aug 29 2018 05:13:00       Capital One Auto Finance, a division of Capital On,
                 AIS Portfolio Services, LP,    4515 N Santa Fe Ave. Dept. APS,     Oklahoma City, OK 73118-7901
26766935       +EDI: CHASE.COM Aug 29 2018 05:13:00       Chase Card Services,    Correspondence Dept.,
                 Po Box 15298,   Wilmington, DE 19850-5298
26766936       +EDI: CHASE.COM Aug 29 2018 05:13:00       Chase Card Services,    Po Box 15298,
                 Wilmington, DE 19850-5298
26766938       +EDI: CITICORP.COM Aug 29 2018 05:13:00       Citibank/The Home Depot,    Po Box 6497,
                 Sioux Falls, SD 57117-6497
26766939       +EDI: WFNNB.COM Aug 29 2018 05:13:00       Comenity Bank/Ann Taylor Loft,    Attn: Bankruptcy Dept.,
                 Po Box 182125,    Columbus, OH 43218-2125
26766940       +EDI: WFNNB.COM Aug 29 2018 05:13:00       Comenity Bank/Ann Taylor Loft,    Po Box 182789,
                 Columbus, OH 43218-2789
26766941       +EDI: WFNNB.COM Aug 29 2018 05:13:00       Comenitybank/meijermc,    Attn: Bankruptcy,
                 Po Box 182273,    Columbus, OH 43218-2273
26766942       +EDI: WFNNB.COM Aug 29 2018 05:13:00       Comenitybank/meijermc,    Po Box 182789,
                 Columbus, OH 43218-2789
26766945       +E-mail/Text: collectionbankruptcies.bancorp@53.com Aug 29 2018 01:31:33         Fifth Third Bank,
                 Attn: Bankruptcy Department,    1830 E. Paris Ave. SE,    Grand Rapids, MI 49546-8803
26766949       +E-mail/Text: chellinga@iowabankers.com Aug 29 2018 01:32:13        Iowa Bankers Mtge Corp,
                 8800 Nw 62nd Ave,    Johnston, IA 50131-2849
26766951       +EDI: CBSKOHLS.COM Aug 29 2018 05:13:00       Kohls/Capital One,    Kohls Credit,    Po Box 3120,
                 Milwaukee, WI 53201-3120
26766952       +EDI: CBSKOHLS.COM Aug 29 2018 05:13:00       Kohls/Capital One,    N56 W 17000 Ridgewood Dr.,
                 Menomonee Falls, WI 53051-5660
26766955       +EDI: NAVIENTFKASMSERV.COM Aug 29 2018 05:13:00       Navient,    Po Box 9655,
                 Wilkes Barre, PA 18773-9655
26766954       +EDI: NAVIENTFKASMSERV.COM Aug 29 2018 05:13:00       Navient,    Attn: Bankruptcy,    Po Box 9500,
                 Wilkes-Barre, PA 18773-9500
26766959       +EDI: RMSC.COM Aug 29 2018 05:13:00       Syncb/Mattress Firm,    Attn: Bankruptcy,    Po Box 965004,
                 Orlando, FL 32896-5004
26766960       +EDI: RMSC.COM Aug 29 2018 05:13:00       Syncb/Mattress Firm,    950 Forrer Blvd.,
                 Kettering, OH 45420-1469
26773567       +EDI: RMSC.COM Aug 29 2018 05:13:00       Synchrony Bank,   c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
26766961       +EDI: RMSC.COM Aug 29 2018 05:13:00       Synchrony Bank/ JC Penneys,    Attn: Bankruptcy Dept.,
                 Po Box 965060,    Orlando, FL 32896-5060
26766962       +EDI: RMSC.COM Aug 29 2018 05:13:00       Synchrony Bank/ JC Penneys,    Po Box 965007,
                 Orlando, FL 32896-5007
26766964        EDI: USBANKARS.COM Aug 29 2018 05:13:00       US Bank/RMS CC,    4325 17th Ave. S,
                 Fargo, ND 58125
26766963        EDI: USBANKARS.COM Aug 29 2018 05:13:00       US Bank/RMS CC,    Attn: Bankruptcy,    Po Box 5229,
                 Cincinnati, OH 45201
          Case 18-14942            Doc 22       Filed 08/30/18 Entered 08/30/18 23:30:36                         Desc Imaged
                                               Certificate of Notice Page 4 of 4


District/off: 0752-1                  User: admin                        Page 2 of 2                          Date Rcvd: Aug 28, 2018
                                      Form ID: 318                       Total Noticed: 44


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
26766967       +E-mail/Text: WFB.Bankruptcy@cabelas.com Aug 29 2018 01:32:19     Worlds Foremost Bank N,
                 Attn: Bankruptcy,   4800 NW 1st St.,   Lincoln, NE 68521-4463
                                                                                            TOTAL: 27

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
26766946*        +Fifth Third Bank,   Attn: Bankruptcy Department,   1830 E Paris Ave Se,
                   Grand Rapids, MI 49546-8803
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 30, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 28, 2018 at the address(es) listed below:
              Joji Takada     trustee@takadallc.com, jtakada@ecf.epiqsystems.com
              Joseph S Davidson    on behalf of Debtor 2 Katie Lynn Beckett jdavidson@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaimanlaw.com;sulaiman.igotnotices@g
               mail.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com;cjohnson@sulaimanlaw.com
              Joseph S Davidson    on behalf of Debtor 1 Michael F Beckett jdavidson@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaimanlaw.com;sulaiman.igotnotices@g
               mail.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com;cjohnson@sulaimanlaw.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Terri M Long    on behalf of Creditor   Fifth Third Bank tmlong@tmlong.com, Courts@tmlong.com
                                                                                             TOTAL: 5
